         Case 2:20-cv-05278-PA-MAA Document 13 Filed 07/10/20 Page 1 of 1 Page ID #:92                                                       about:blank




                                  •                          United States District Court
                                                                Central Dlstrlet of C~Iltorala           Crlstla~ M.Sgdert Ballock
                                                                 Office ofthe Clerk                     ChiefDeputy of Administration
                                                                                                        350 West 1st Street, Suite 4311
                                                                                                           Los Angeles, CA 90012

                              Kiry K.Gray                                                                      Sari Tx Soo Hoo
                 District Court Exceutive / Clerk of Court                                                 ChiefDeputy of Operations
                     350 West 1st Street, Suite 43l 1                                                 255 East Temple Street, Suite TS-134
                          Los Angeles, CA 90012                                                             Los Angeles, CA 90012
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                                                                  June 25,2020                                                      ~—
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                      Burba~ CA 91502

               Re: Case Number:       2:20--cv-05278—PA—MAA
                   Previously Superior Court Case No.       20BBCV00306                                            !                W
                   Case Name:         ie .a- ar v. Tesla Motors. nc.

               Dear Sir/Madam:

                     Pursuant to this Court's ORDER OF REMAND issued on                  6/24/20        ,the above—referenced case
               is hereby remanded to your jurisdiction.

                     Attached is a certified copy ofthe ORDER OF REMAND and a copy of the docket sheet from this Court.

                    Please acknowledge receipt of the above by signing the enclosed copy of this letter and returning it to the
               location shown below. Thank you for your cooperation.

               United States Courthouse
               255 East Temple Street, Suite TS-134
               Los Angeles,CA 90012


                                                                                 Respectfully,

                                                                                 Clerk, U.S. District Court

                                                                                 By: ls/ Beniamin Moss
                                                                                    Deputy Clerk
                                                                                    Benjamin_MossQcacd.uscourts.gov
               Encls.
               cc: Counsel ofrecord

               Receipt is acknowledged of the documents described above.



                                                                                 Clerk, Super~-~ourt


                     !'``   ~,                                                   B
               Date ;     /                                                             eputy Clerk




               CV-103(05/18) LETTER OFTRANSMITTAL - REMAND TO SUPERIOR COURT (CIVIL)




1 of 1                                                                                                                               6/25/2020, 1:12 PM
